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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION

JONATHAN LANGLEY, )
Plaintiff,

V. 5 Case No. 1:18-cv-00443-DAE
INTERNATIONAL BUSINESS
MACHINES CORPORATION, )
Defendant.
)

 

STIPULATION OF DISMISSAL WITH PREJUDICE OF ACTION
Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Jonathan Langley
(“Langley”) and Defendant International Business Machines Corporation (“IBM”) stipulate as
follows:
1. The above-captioned action shall be dismissed in its entirety with prejudice;
2. Each party waives any and all rights to appeal; and
3. Each party shall bear their own attorneys’ fees and costs incurred in connection

with or as a result of this action.
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Dated: Mitt 2020 espe¢tfully submitted,
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H¢idi Coughlin

(Texas Bar No. 24059615)
Archie Carl Pierce

(Texas Bar No. 15991500)
Blair Leake

(Texas Bar No. 24081630)
WRIGHT & GREENHILL, P.C.
900 Congress Ave.

Suite 500

Austin, TX 78701

Phone: (512) 961-4389
Fax: (512) 476-5382

Attorneys for Plaintiff
Jonathan Langley
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o B. Marshall* \ Syqvee w/
JONES DAY peer =O Lo) ceo
51 Louisiana Ave., N Cnve

Washington, D.C. 20001
Phone: (202) 879-7611
Fax: (202) 626-1700
abmarshall@jonesday.com
*Admitted Pro Hac Vice

 

Matthew W. Lampe*
Kristina A. Yost*

JONES DAY

250 Vesey Street

New York, NY 10281
Phone: (212) 326-7838
Fax: (212) 755-7306
mwlampe@jonesday.com
kyost@jonesday.com
*Admitted Pro Hac Vice

Brian M. Jorgensen

(Texas Bar No. 24012930)
JONES DAY

2727 North Harwood St.
Dallas, TX 75204

Phone: (214) 969-3741

Fax: (214) 969-5100
bmjorgensen@jonesday.com

Joanne R. Bush

(Texas Bar No. 24064983)
JONES DAY

717 Texas

Suite 3300

Houston, TX 77002
Phone: (832) 239-3782
Fax: (832) 239-3600
jrbush@jonesday.com
Case 1:18-cv-00443-DAE Document 219 Filed 04/14/20 Page 4 of 4

Shannon H. Ratliff

(Texas Bar No. 16573000)
Davis, Gerald, & Cremer, P.C.
300 West 6th Street

Suite 1830

Austin, TX 78701

Phone: (512) 493-9601
shratliff@dgclaw.com

R. Paul Yetter

(Texas Bar No. 22154200)
Tracy N. LeRoy

(Texas Bar No. 24062847)
Yetter Coleman LLP

811 Main Street

Suite 4100

Houston, TX 77002
Phone: (713) 632-8000
pyetter@yettercoleman.com
tleroy@yettercoleman.com

Attorneys for Defendant
International Business Machines Corporation
